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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ROBIN MESEY and JENNIFER MESEY, )
                                     )
      Plaintiffs,                    )
                                     )
vs.                                  )               Case No. 1:19-CV-71 SNLJ
                                     )
CITY OF VAN BUREN, MISSOURI, et al., )
                                     )
      Defendants.                    )

              PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
  MOTION FOR TAXATION OF COSTS OF SERVICE TO BE ASSESSED AGAINST
       DEFENDANT CHARLES ROPER AND FOR ATTORNEY’S FEES

       COMES NOW Plaintiffs Robin Mesey and Jennifer Mesey (collectively the “Plaintiffs”),

by and through their attorney, and for their Motion for Taxation of Costs of Service to be Assessed

Against Defendant Charles Roper (“Defendant Roper”) and for Attorney’s Fees and respectfully

states to this Honorable Court the following:

                                       MEMORANDUM

       Rule 4(d)(2) of the Federal Rules of Civil Procedure provides that:

       “If a defendant located within the United States fails, without good cause, to sign
       and return a waiver requested by a plaintiff located within the United States, the
       court must impose on the defendant:

       (A) the expenses later incurred in making service; and
       (B) the reasonable expenses, including attorney’s fees, of any motion required to
       collect those service expenses.”

Fed.R.Civ.P. 4(d)(2). (emphasis added).

       Ordering Defendants to pay service costs under Rule 4(d)(2) of the Federal Rules of Civil

Procedure before final judgment in this case is not premature. See Double “S” Truck Line, Inc. v.

Frozen Food Express, 171 F.R.D. 251 (D. Minn. 1997); Marcello v. Maine, 238 F.R.D. 113 (D.
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Me. 2006); Butler v. Crosby, 2005 WL 390740 (M.D. Fla. 2005). The courts in these cases noted

particularly that the Rule, “makes abundantly clear that a defendant’s duty to avoid unnecessary

costs of service is not related to the merits of the underlying case and, therefore, there is no cause

to delay an award of costs even when . . . the Plaintiff’s claim [may be] without merit.” Double

“S”, 171 F.R.D. at 253; Marcello, 238 F.R.D. at 116.

       Defendants simply failed to return signed waivers, which forced Plaintiff to request alias

summons, have the Defendants personally served and needlessly increased the service costs in this

case, despite the warnings set forth in the Notice of Lawsuit and Request to Waive Service of a

Summons (See Doc. #1-5).

       WHEREFORE, for the foregoing reasons, and those stated in Plaintiffs’ Motion, Plaintiffs

respectfully request this Honorable Court to grant their Motion for Taxation of Costs of Service to

be Assessed Against Defendant Charles Roper and for Attorney’s Fees and for such other relief

this Court deems just and proper under the circumstances.



                                               Respectfully submitted,

                                               SCHOTTEL & ASSOCIATES, P.C.

                                               BY: s/James W. Schottel, Jr.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 24, 2019, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

                                              Patricia A. Keck
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                                              Attorney for Defendants
                                              City of Van Buren, Missouri
                                              Alonzo Bradwell


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                                              Charles Roper


                                              s/James W. Schottel, Jr.




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